
PER CURIAM:
This claim was submitted to the Court for decision upon a Stipulation entered into by claimant and respondent wherein certain facts and circumstances of the claim were agreed to as follows:
1. On August 29, 2008, claimant’s daughter, Tina A. Weaver, was driving the claimant’s 1998 Chevrolet Silverado truck on State Route 20 South, approximately four miles north of Hinton, Summers County, when a portion of a dead tree fell on the vehicle.
2. Respondent is responsible for the maintenance of State Route 20 which it failed to maintain properly on the date of this incident.
3. As a result, claimant’s vehicle sustained damage in the amount of *75$2,366.55. Claimant had liability insurance only.
4. Respondent agrees that the amount of $2,366.55 for the damages put forth by the claimant is fair and reasonable.
The Court has reviewed the facts of the claim and finds that respondent was negligent in its maintenance of State Route 20 on the date of this incident; that the negligence of respondent was the proximate cause of the damages sustained to claimant’s vehicle; and that the amount of damages agreed to by the parties is fair and reasonable. Thus, claimant may make a recovery for his loss.
It is the opinion of the Court of Claims that the claimant should be awarded the sum of $2,366.55 on this claim.
Award of $2,366.55.
